         Case 1:25-cv-01405-UNA          Document 10        Filed 05/09/25      Page 1 of 4




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

ANGELICA S., et al.,                                  )
                                                      )
                               Plaintiffs,            )
                                                      )
v.                                                    )
                                                      )   No. 1:25-cv-01405
U.S. DEPARTMENT OF HEALTH AND                         )
HUMAN SERVICES, et al.,                               )
                                                      )
                               Defendants.            )



                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         Plaintiffs Angelica S., Eduardo M., Liam W., Leo B., Xavier L., and Immigrant

Defenders Law Center hereby move the Court, pursuant to 5 U.S.C. § 705, Federal Rule of Civil

Procedure 65, and Local Civil Rule 65.1 for a preliminary injunction against Defendants U.S.

Department of Health and Human Services (“HHS”), Robert F. Kennedy, Jr., Secretary of HHS,

and Angie Salazar, Acting Director of the Office of Refugee Resettlement (“ORR”). Plaintiffs

are unaccompanied immigrant children in ORR custody unnecessarily separated from their

parents or other caring potential sponsors because of ORR’s refusal to accept their sponsor’s

proof of identification and/or financial stability, as well as a nonprofit organization representing

unaccompanied immigrant children. The individual Plaintiffs file this motion pseudonymously,

in accordance with Plaintiffs’ pending Motion for Leave to Proceed Under Pseudonym and to

File Under Seal. ECF No. 2. Plaintiffs filed a motion for class certification on May 9, 2025. ECF

No. 9.

         Plaintiffs request the Court provisionally certify a putative class of unaccompanied

immigrant children in ORR custody and issue a preliminary injunction (1) staying the Interim




                                                  1
       Case 1:25-cv-01405-UNA           Document 10        Filed 05/09/25     Page 2 of 4




Final Rule (“IFR”) promulgated by HHS on March 25, 2025; (2) prohibiting ORR from

enforcing the new proof of identification requirements and new proof of income requirements

currently contained in the March 7, 2025, and April 15, 2025, revisions of its Unaccompanied

Children Policy Guide Section 2.2.4; (3) requiring ORR to promptly, and within no later than 10

days, inform all potential sponsors of unaccompanied children who were disqualified or denied

based on ORR’s unlawful proof of identification and proof of income policies that they may now

continue with their sponsorship applications; and (4) requiring ORR to adjudicate any

sponsorship application denied, closed, or otherwise delayed in whole or in part because of the

IFR or the above-described unlawful identification and/or proof of income policies according to

the policies and requirements in place when the completed application was submitted.

       As Plaintiffs discuss in greater detail in their accompanying memorandum of law, the IFR

and ORR’s new proof of identification and proof of income policies are unlawful and were

issued in violation of the Administrative Procedure Act. Plaintiff children are suffering

emotional distress and other irreparable harm because of their unnecessary and ongoing

separation from their parents and other close family members.

       Plaintiffs request a hearing as soon as possible and in no more than 21 days from today’s

date. See Local Civil Rule 65.1(d).

       On May 8, 2025, Plaintiffs’ counsel provided Alex Haas, Diane Kelleher, and John

Griffiths, the Directors of the Federal Programs Branch of the U.S. Department of Justice’s Civil

Division, with a copy of the complaint, informed them that Plaintiffs intended to file a motion for

preliminary injunction on May 9, and asked to confer about the motion with the attorneys

assigned. Ms. Kelleher responded adding additional attorneys. As of the time of filing this

motion, Defendants have not yet responded to Plaintiffs’ request to confer.




                                                 2
Case 1:25-cv-01405-UNA        Document 10        Filed 05/09/25     Page 3 of 4




WHEREFORE, Plaintiffs respectfully request that this motion be granted.


                                          Respectfully submitted,

                                          _/s/ David Hinojosa____________________

                                          David Hinojosa (D.C. Bar No. 1722329)
                                          Rebecca Wolozin (D.C. Bar No. 144369)*
                                          NATIONAL CENTER FOR YOUTH LAW
                                          818 Connecticut Avenue NW, Suite 425
                                          Washington, DC 20006
                                          (202) 868-4792
                                          dhinojosa@youthlaw.org
                                          bwolozin@youthlaw.org

                                          Neha Desai**
                                          Mishan Wroe**
                                          Diane de Gramont**
                                          NATIONAL CENTER FOR YOUTH LAW
                                          1212 Broadway, Suite 600
                                          Oakland, CA 94612
                                          (510) 835-8098
                                          ndesai@youthlaw.org
                                          mwroe@youthlaw.org
                                          ddegramont@youthlaw.org

                                          Cynthia Liao***
                                          Joel McElvain (D.C. Bar No. 448431)
                                          Skye L. Perryman (D.C. Bar No. 984573)
                                          DEMOCRACY FORWARD FOUNDATION
                                          P.O. Box 34553
                                          Washington, D.C. 20043
                                          (202) 448-9090
                                          cliao@democracyforward.org
                                          jmcelvain@democracyforward.org
                                          sperryman@democracyforward.org


                                          * Application for D.D.C. admission pending
                                          ** Pro hac vice pending
                                          *** Pro hac vice forthcoming




                                      3
       Case 1:25-cv-01405-UNA          Document 10        Filed 05/09/25       Page 4 of 4




                                CERTIFICATE OF SERVICE

       I certify that on May 9, 2025, I caused the foregoing to be mailed to the following

addresses:

U.S. Department of Health and Human Services
200 Independence Avenue SW
Washington, DC 20201

Robert Francis Kennedy Jr.
Secretary, Department of Health and Human Services
200 Independence Ave. SW
Washington, DC 20201

Angie Salazar
Acting Director of Office of Refugee Resettlement
330 C. Street, SW
Washington, DC 20201

U.S. Department of Health and Human Services
Robert F. Kennedy Jr., Secretary of Health and Human Services
Angie Salazar, Acting Dr. of the Office of Refugee Resettlement
c/o U.S. Attorney General
950 Pennsylvania Ave., NW
Washington, DC 20530

 U.S. Department of Health and Human Services
Robert F. Kennedy Jr., Secretary of Health and Human Services
Angie Salazar, Acting Dr. of the Office of Refugee Resettlement
c/o Civil Process Clerk, U.S. Attorney’s Office for the District of Columbia
601 D. Street, NW
Washington, DC 20004



                                                            /s/ Rebecca Wolozin

                                                            Rebecca Wolozin




                                                4
